                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                 DOCKET NO: 3:11CR373-FDW
                                    )
KAMAL ZAKI QAZAH (3)                )
___________________________________ )

          ORDER FOR INTERLOCUTORY SALE OF PERSONAL PROPERTY

       THIS MATTER is before the Court on the government’s motion for an interlocutory sale

of thirty automobiles and two watercraft seized from 7 Stars Auto Sales in Columbia, South

Carolina. These assets are subject to pending criminal forfeiture in the event of defendant’s

conviction, but in the meantime are incurring substantial storage costs and the risk of

depreciation in value.

       Federal Rule of Criminal Procedure 32.2 provides that, “[a]t any time before entry

of a final forfeiture order, the court, in accordance with Supplemental Rule G(7) of the

Federal Rules of Civil Procedure, may order the interlocutory sale of property alleged to

be forfeitable.” Fed. R. Crim. P. 32.2(b)(7). Rule G(7) provides:

               On motion by a party or a person having custody of the property,
               the court may order all or part of the property sold if . . . (A) the
               property is perishable or at risk of deterioration, decay, or injury
               by being detained in custody pending the action; (B) the expense
               of keeping the property is excessive or is disproportionate to its
               fair market value; (C) the property is subject to a mortgage or to
               taxes on which the owner is in default; or (D) the court finds other
               good cause.

Fed. R. Civ. P. Supp. R. G(7)(b)(i).

       The Court finds that the storages costs for these assets and the risk of depreciation are

sufficient under the rule as factors supporting an interlocutory sale.




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        IT IS THEREFORE ORDERED, pursuant to Fed. R. Crim. P. 32.2(b)(7) and Rule G(7)

of the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, that

the United States may sell, by commercially feasible means, any and all of the personal property

listed in the exhibit submitted with the government’s motion filed on August 16, 2012.

        IT IS FURTHER ORDERED that the net proceeds of the sale will be deposited into an

interest-bearing account maintained by the Marshals Service and substituted as the property

subject to forfeiture in the event of the defendant’s conviction and a final judgment of forfeiture

in this case.

        IT IS FURTHER ORDERED that the government may, in its sole discretion, reject any

offer to purchase any asset subject to this Order where it determines that the offer is being made

by, or on behalf of, a person involved in the criminal activity alleged as the basis for forfeiture.

                                                  Signed: August 17, 2012




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